              Case 23-40398-NGH                           Doc 29           Filed 10/03/23 Entered 10/03/23 21:45:54                                                  Desc Main
                                                                          Document     Page 1 of 18
 Fill in this information to identify your case:

 Debtor 1                   Amber Renee Hobbs
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF IDAHO

 Case number           23-40398
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              95,209.79

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              95,209.79

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              27,548.46

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              23,893.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             250,740.90


                                                                                                                                     Your total liabilities $               302,182.36


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,100.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,185.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-40398-NGH                           Doc 29          Filed 10/03/23 Entered 10/03/23 21:45:54                    Desc Main
                                                                     Document     Page 2 of 18
 Debtor 1      Amber Renee Hobbs                                                          Case number (if known) 23-40398

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information              page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case 23-40398-NGH                      Doc 29         Filed 10/03/23 Entered 10/03/23 21:45:54                                          Desc Main
                                                                  Document     Page 3 of 18
Fill in this information to identify your case and this filing:

Debtor 1                    Amber Renee Hobbs
                            First Name                   Middle Name                       Last Name

Debtor 2
(Spouse, if filing)         First Name                   Middle Name                       Last Name


United States Bankruptcy Court for the:           DISTRICT OF IDAHO

Case number           23-40398                                                                                                                             Check if this is an
                                                                                                                                                           amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Toyota                                 Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
          Model:      Tacoma                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:       2019                                      Debtor 2 only                                                Current value of the      Current value of the
          Approximate mileage:               59,500             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
          Other information:                                    At least one of the debtors and another
         SR5 Crew Cab 4WD V6, JP
         Power average trade-in value                           Check if this is community property                                  $30,250.00                 $30,250.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $30,250.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

Official Form 106A/B                                                     Schedule A/B: Property                                                                         page 1
         Case 23-40398-NGH                   Doc 29        Filed 10/03/23 Entered 10/03/23 21:45:54                                 Desc Main
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Debtor 1      Amber Renee Hobbs                                                                     Case number (if known)     23-40398
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               Bedroom 1: King bed, metal base, storage cabinet, side table,
                               lamp, mirror                                                                                                        $350.00


                               Bedroom 2: Queen bed, side table, metal base, lamp, chair, linens                                                   $350.00


                               Office: Desk, table, drawer cube, lamp, filing cabinets                                                             $250.00


                               Kitchen: Table/6 chairs, silverware, utensils, small appliances,
                               linens, bakeware, pots/pans                                                                                         $350.00


                               Living room: Sectional, side table, ottoman, entertainment center,
                               swivel chair                                                                                                        $350.00


                               Garage: Husky storage chest, table, 2 plastic shelves, yard tools                                                   $250.00


                               Art decorations                                                                                                     $350.00


                               Food Storage                                                                                                        $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Office: Laptop                                                                                                      $500.00


                               Office: Desktop, keyboard, camera, computer, GoPro, speaker                                                         $350.00


                               Living room: 56" Television                                                                                          $40.00


                               Bedroom 1: 45" Television                                                                                            $20.00


                               Cell phone                                                                                                          $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

                               Rock and crystals                                                                                                   $100.00



Official Form 106A/B                                         Schedule A/B: Property                                                                   page 2
        Case 23-40398-NGH                   Doc 29      Filed 10/03/23 Entered 10/03/23 21:45:54                               Desc Main
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Debtor 1     Amber Renee Hobbs                                                                   Case number (if known)   23-40398
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                              2 Guitars                                                                                                      $350.00


                              Skiing gear, ski poles, bindings, boots                                                                        $350.00


                              Mountain Bike                                                                                                $1,500.00


                              2 Paddle boards                                                                                                $350.00


                              Camping gear, sleeping bags, camp stove                                                                        $350.00


                              Road bike, helmet, tire pump, bike parts                                                                       $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                              Clothing for 1                                                                                                 $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                              Costume jewelry, watch, glasses, earrings                                                                        $50.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                              2 Dogs                                                                                                         $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                  $7,810.00


Part 4: Describe Your Financial Assets

Official Form 106A/B                                       Schedule A/B: Property                                                               page 3
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Debtor 1        Amber Renee Hobbs                                                                                           Case number (if known)   23-40398
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash                                     $0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                ICCU Acct #5634                                                    $4,753.50



                                            17.2.       Savings                                 ICCU Acct#9078                                                     $5,078.20


                                                                          Bank of Jackson Hole ACCT #8325, listed for
                                            17.3.       Business Checking disclosure purposes.                                                                          $0.00



                                            17.4.       Checking                                Mountain America Acct #2588-50                                          $0.00



                                            17.5.       Savings                                 Mountain America Acct # 2588-01                                         $1.00



                                            17.6.       Savings                                 Mountain America Acct #2644-01                                          $0.00



                                            17.7.       Checking                                Mountain America #2644-50                                               $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                      Robinhood                                                                                                         $0.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

                                                Yellow Dogs, LLC                                                                 100%          %                        $0.00


                                                H&H Design, LLC                                                                  100%          %                        $0.00



Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 4
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Debtor 1       Amber Renee Hobbs                                                                   Case number (if known)      23-40398
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                   Institution name:

                               IRA                               Fidelity Acct #3040                                                         $39,764.67


                               401(k)                            Vanguard Acct #2181                                                             $52.42


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                               Rental Deposit                    John Shirley                                                                 $6,800.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............    Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

                                      Autocad software                                                                                          $350.00


                                      Bluebeam software                                                                                         $350.00


Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.




Official Form 106A/B                                        Schedule A/B: Property                                                                 page 5
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Debtor 1        Amber Renee Hobbs                                                                                               Case number (if known)        23-40398
28. Tax refunds owed to you
      No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                             est 2023 EIC, ACTC/RCTC, & Recovery
                                                                  Rebate Credit                                                                                                  $0.00




                                                             est 2023 tax refund                                                                                                 $0.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $57,149.79


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.




Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 6
          Case 23-40398-NGH                                 Doc 29            Filed 10/03/23 Entered 10/03/23 21:45:54                                              Desc Main
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Debtor 1         Amber Renee Hobbs                                                                                                     Case number (if known)   23-40398

Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                           $30,250.00
57. Part 3: Total personal and household items, line 15                                                       $7,810.00
58. Part 4: Total financial assets, line 36                                                                  $57,149.79
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $95,209.79              Copy personal property total            $95,209.79

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $95,209.79




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 7
             Case 23-40398-NGH                  Doc 29       Filed 10/03/23 Entered 10/03/23 21:45:54                               Desc Main
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Fill in this information to identify your case:

Debtor 1                Amber Renee Hobbs
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        DISTRICT OF IDAHO

Case number           23-40398
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2019 Toyota Tacoma 59,500 miles                          $30,250.00                               $10,000.00      Idaho Code § 11-605(3)
     SR5 Crew Cab 4WD V6, JP Power
     average trade-in value                                                        100% of fair market value, up to
     Line from Schedule A/B: 3.1                                                   any applicable statutory limit

     Bedroom 1: King bed, metal base,                              $350.00                                 $350.00     Idaho Code § 11-605(1)(a)
     storage cabinet, side table, lamp,
     mirror                                                                        100% of fair market value, up to
     Line from Schedule A/B: 6.1                                                   any applicable statutory limit

     Bedroom 2: Queen bed, side table,                             $350.00                                 $350.00     Idaho Code § 11-605(1)(a)
     metal base, lamp, chair, linens
     Line from Schedule A/B: 6.2                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Office: Desk, table, drawer cube,                             $250.00                                 $250.00     Idaho Code § 11-605(1)(a)
     lamp, filing cabinets
     Line from Schedule A/B: 6.3                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Kitchen: Table/6 chairs, silverware,                          $350.00                                 $350.00     Idaho Code § 11-605(1)(a)
     utensils, small appliances, linens,
     bakeware, pots/pans                                                           100% of fair market value, up to
     Line from Schedule A/B: 6.4                                                   any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 5
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Debtor 1    Amber Renee Hobbs                                                                  Case number (if known)     23-40398
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Living room: Sectional, side table,                        $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    ottoman, entertainment center,
    swivel chair                                                                 100% of fair market value, up to
    Line from Schedule A/B: 6.5                                                  any applicable statutory limit

    Garage: Husky storage chest, table, 2                      $250.00                                   $250.00        Idaho Code § 11-605(1)(a)
    plastic shelves, yard tools
    Line from Schedule A/B: 6.6                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Art decorations                                            $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 6.7
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Food Storage                                               $500.00                                   $500.00        Idaho Code § 11-605(4)
    Line from Schedule A/B: 6.8
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Office: Laptop                                             $500.00                                   $500.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 7.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Office: Desktop, keyboard, camera,                         $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    computer, GoPro, speaker
    Line from Schedule A/B: 7.2                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Living room: 56" Television                                 $40.00                                    $40.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 7.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Bedroom 1: 45" Television                                   $20.00                                    $20.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 7.4
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Cell phone                                                 $300.00                                   $300.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 7.5
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rock and crystals                                          $100.00                                   $100.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 8.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    2 Guitars                                                  $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 9.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 5
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Debtor 1    Amber Renee Hobbs                                                                  Case number (if known)     23-40398
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Skiing gear, ski poles, bindings,                          $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    boots
    Line from Schedule A/B: 9.2                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Mountain Bike                                           $1,500.00                                  $1,000.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 9.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Mountain Bike                                           $1,500.00                                    $500.00        Idaho Code § 11-605(10)
    Line from Schedule A/B: 9.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    2 Paddle boards                                            $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    Line from Schedule A/B: 9.4
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Camping gear, sleeping bags, camp                          $350.00                                   $350.00        Idaho Code § 11-605(1)(a)
    stove
    Line from Schedule A/B: 9.5                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Road bike, helmet, tire pump, bike                         $200.00                                   $200.00        Idaho Code § 11-605(1)(a)
    parts
    Line from Schedule A/B: 9.6                                                  100% of fair market value, up to
                                                                                 any applicable statutory limit

    Clothing for 1                                             $500.00                                   $500.00        Idaho Code § 11-605(1)(b)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Costume jewelry, watch, glasses,                            $50.00                                    $50.00        Idaho Code § 11-605(2)
    earrings
    Line from Schedule A/B: 12.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    2 Dogs                                                     $100.00                                   $100.00        Idaho Code § 11-605(1)(b)
    Line from Schedule A/B: 13.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Cash                                                          $0.00                                     $0.00       Idaho Code § 11-605(10)
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: ICCU Acct #5634                               $4,753.50                                        75%        Idaho Code § 11-207
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 3 of 5
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Debtor 1    Amber Renee Hobbs                                                                  Case number (if known)     23-40398
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Savings: ICCU Acct#9078                                 $5,078.20                                        75%        Idaho Code § 11-207
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Business Checking: Bank of Jackson                            $0.00                                      75%        Idaho Code § 11-207
    Hole ACCT #8325, listed for
    disclosure purposes.                                                         100% of fair market value, up to
    Line from Schedule A/B: 17.3                                                 any applicable statutory limit

    Checking: Mountain America Acct                               $0.00                                      75%        Idaho Code § 11-207
    #2588-50
    Line from Schedule A/B: 17.4                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Mountain America Acct #                              $1.00                                      75%        Idaho Code § 11-207
    2588-01
    Line from Schedule A/B: 17.5                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Mountain America Acct                                $0.00                                      75%        Idaho Code § 11-207
    #2644-01
    Line from Schedule A/B: 17.6                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Mountain America                                    $0.00                                      75%        Idaho Code § 11-207
    #2644-50
    Line from Schedule A/B: 17.7                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    IRA: Fidelity Acct #3040                               $39,764.67                                       100%        Idaho Code §§ 55-1011,
    Line from Schedule A/B: 21.1                                                                                        11-713(3)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    401(k): Vanguard Acct #2181                                 $52.42                                      100%        Idaho Code §§ 55-1011,
    Line from Schedule A/B: 21.2                                                                                        11-713(3)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Rental Deposit: John Shirley                            $6,800.00                                  $6,800.00        Idaho Code § 55-1003
    Line from Schedule A/B: 22.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Autocad software                                           $350.00                                   $350.00        Idaho Code § 11-605(3)
    Line from Schedule A/B: 27.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Bluebeam software                                          $350.00                                   $350.00        Idaho Code § 11-605(3)
    Line from Schedule A/B: 27.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 4 of 5
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Debtor 1    Amber Renee Hobbs                                                                  Case number (if known)     23-40398
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    est 2023 EIC, ACTC/RCTC, &                                    $0.00                                     100%        Idaho Code §§ 11-603(4),
    Recovery Rebate Credit                                                                                              56-223
    Line from Schedule A/B: 28.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 5 of 5
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Fill in this information to identify your case:

Debtor 1                      Amber Renee Hobbs

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF IDAHO

Case number               23-40398                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Interior Designer
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Yellow Dogs, LLC

       Occupation may include student        Employer's address
                                                                   860 Fox Acres Rd
       or homemaker, if it applies.
                                                                   Hailey, ID 83333

                                             How long employed there?         2 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Amber Renee Hobbs                                                                    Case number (if known)    23-40398


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $               N/A
     5e.    Insurance                                                                     5e.        $              0.00   $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00   $               N/A
     5g.    Union dues                                                                    5g.        $              0.00   $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      1,500.00       $               N/A
     8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                   N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
     8h. Other monthly income. Specify: IRA Cashouts                                      8h.+ $              600.00 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,100.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,100.00 + $           N/A = $          2,100.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         2,100.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Amber Renee Hobbs                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF IDAHO                                                          MM / DD / YYYY

Case number           23-40398
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            3,400.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Amber Renee Hobbs                                                                         Case number (if known)      23-40398

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 355.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                 250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  220.00
      15c. Vehicle insurance                                                               15c. $                                                  125.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  565.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,185.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,185.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,100.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,185.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -4,085.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
